8:03-cr-00533-RGK-CRZ        Doc # 170     Filed: 12/13/07    Page 1 of 1 - Page ID # 487




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )          8:03CR533-2
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )          ORDER
RICHARD S. LIEN,                             )
                                             )
                    Defendant.               )

      IT IS ORDERED that:

      (1)    The government’s request for hearing (filing 168) is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 163) has been set before the undersigned United States district judge on
Wednesday, January 16, 2008, at 1:00 p.m., in Courtroom No. 1, United States Courthouse
and Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived his right to be present.

      December 13, 2007.                 BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
